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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 1:05cr36-SPM

PATRICK JACKSON,

           Defendant.
______________________________/

                            ORDER OF COMPETENCY

         THIS CAUSE comes before the Court for review of the forensic report of

Defendant’s psychological evaluation (doc. 212) conducted pursuant to 18

U.S.C. § 4247. In the report, the psychologist provides a detailed summary of his

evaluation of Defendant and concludes that Defendant is competent to stand

trial.

         Having reviewed the report, the Court agrees with the psychologist’s

conclusion and makes a finding that Defendant is competent. All reasonable

doubts have been dispelled as to Defendant’s ability to understand the nature

and consequences of the proceedings against him and to assist properly in his

defense.

         SO ORDERED this 28th day of September, 2007.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
